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 8                        UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10    ALISHA LAWHORN, on behalf of                  CASE NO. 13CV1171 JLS (NLS)
      herself and all others similarly
11    situated,                                     ORDER GRANTING JOINT
                                                    REQUEST TO DISMISS WITH
12                                   Plaintiff,     PREJUDICE
            vs.
13                                                  (ECF No. 31)
14    MEDICREDIT, INC. and DOES 1
      through 10, inclusive, and each of
15    them,
16                                Defendants.
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           Presently before the Court is the parties’ Joint Request to Dismiss with Prejudice.
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     (ECF No. 31). Good cause appearing, the Court GRANTS the motion. This case is
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     DISMISSED WITH PREJUDICE in its entirety. Each party shall bear its own costs
20
     and expenses.
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           IT IS SO ORDERED.
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23
     DATED: January 15, 2014
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25                                            Honorable Janis L. Sammartino
                                              United States District Judge
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